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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  ELGIN HILLIARD, SR.

        Plaintiffs,

  v.                                                             CASE NO.____________________

  CITY OF HIALEAH, HIALEAH POLICE
  DEPARTMENT, SERGIO VELAZQUEZ in his
  official capacity, HIALEAH HOUSING AUTHORITY,
  MAIDA GUTIERREZ, in her official capacity, and
  RENE GUTIERREZ, individually.

      Defendants.
  ______________________________________

                                             COMPLAINT

          Plaintiff, ELGIN HILLIARD, SR. sues Defendants, CITY OF HIALEAH, HIALEAH

  POLICE DEPARTMENT, SERGIO VELAZQUEZ in his official capacity, HIALEAH

  HOUSING AUTHORITY, MAIDA GUTIERREZ, in her official capacity, and RENE

  GUTIERREZ, individually, jointly and severally, and says:

                                              Jurisdiction

          1. This action is brought pursuant to 42 U.S.C. §§1983, 1988, the First, Fourth, and

  Fourteenth Amendments to the United States Constitution, the Federal Fair Housing Act, the

  Americans with Disabilities Act, and the tort laws of Florida. Jurisdiction is founded on 28 U.S.C.

  §§1331, 1343, 42 U.S.C. §1988, the constitutional provisions mentioned above, and under the tort

  law of Florida. Supplemental jurisdiction, and joinder of parties for additional state law claims is

  proper pursuant to 28 U.S.C. §1367(a) because they form part of the same case or controversy. Plaintiff

  asserts multiple state tort law claims.

          2. Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) as all

  Defendants work and/or reside in this district and all of the acts and omissions giving rise to this




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  action occurred in the City of Hialeah, Florida.

          3. In connection with the acts, practices and violations alleged below, Defendants City of

  Hialeah (hereinafter “City”), Hialeah Police Department, (hereinafter “Hialeah PD” or “HPD”),

  Sergio Velazquez (hereinafter “Velazquez”), Hialeah Housing Authority (hereinafter “HHA”), Maida

  Gutierrez (hereinafter “M. Gutierrez”), Margarita De La Cruz (hereinafter “De La Cruz”), Leyda

  Halphen (“hereinafter “Halphen”), and Rene Gutierrez (“hereinafter “Officer Gutierrez”), have

  each, either directly or indirectly violated clearly established constitutional rights, as well as statutory

  and common law duties owed to Plaintiff.

          4. All conditions precedent under Florida law for the filing of state law claims have been

  satisfied.

                                                   Parties

          5. Plaintiff Elgin Hilliard, Sr. (hereinafter “Hilliard”) at all times material hereto, has been a

  resident of Miami-Dade County, Florida, over the age of eighteen years and otherwise able to sue in

  his own capacity.

          6. Defendant City of Hialeah, Florida is a municipality duly organized under the laws of the

  State of Florida. City is the governmental entity responsible, as a matter of law, for the actions of the

  Hialeah PD and the HHA, its officials, agents and employees, insofar as the Hialeah PD and HHA

  are administrative subdivisions of the City of Hialeah.

          7. Defendant Hialeah Police Department, is an administrative subdivision of the City of

  Hialeah.

          8. Defendant Hialeah Housing Authority, is an administrative subdivision of the City of

  Hialeah.

          9. Defendant Sergio Velazquez is the Chief of Police for the City of Hialeah, a Florida

  municipality. Velazquez was appointed Chief by the Hialeah City Council, and has served in that




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  capacity since 2012. Velazquez is responsible for the officers in his employ, and ensuring that the

  officers, employees, servants and agents of the Hialeah Police Department obey the laws of the State

  of Florida and the United States, Defendant Velaquez is the final policymaker or the Hialeah City

  Council’s delegee responsible for all operational and investigative policies, training and supervision,

  practices, customs, and orders of the Hialeah Police Department.

          10. Defendant Maida Gutierrez, is the Chairperson of the Hialeah Housing Authority for the

  City of Hialeah, a Florida municipality. M. Gutierrez was appointed Chairperson by the Hialeah

  mayor and has served in that capacity since 2009. M. Gutierrez is responsible for the officers in her

  employ, and ensuring that the employees, servants, and agents of the Hialeah Housing Authority

  obey the laws of the State of Florida and the United States, Defendant M. Gutierrez is the final

  policymaker or the Hialeah mayor’s delegee responsible for all operational and investigative policies,

  training and supervision, practices, customs, and orders of the Hialeah Housing Authority.

          11. Defendant Rene Gutierrez is a duly appointed law enforcement officer of the Hialeah

  Police Department, at all times material hereto acting under color of law, to wit: under the color of

  statutes, ordinances, regulations, policies, practices, customs and usages of the City of Hialeah,

  Velazquez, and/or the State of Florida. Defendant Officer Gutierrez is being sued in his individual

  capacity.

                                      General Allegations of Fact

          12. Defendants City of Hialeah, HPD, Valezquez, and Officer Gutierrez violated Plaintiff’s

  constitutional rights under the First, Fourth, and Fourteenth Amendments to the United States

  Constitution as well as the laws of Florida. It is further alleged that these violations were committed

  as a result of malice, recklessness, deliberate indifference, and/or plain incompetence Officer

  Gutierrez, and/or Velazquez; and/or pursuant to the policies, practices and/or customs of

  Defendant City.




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          13. Defendants City of Hialeah, HHA, and M. Gutierrez, violated Plaintiff’s constitutional

  rights under the First, Fourth, and Fourteenth Amendments to the United States Constitution as

  well as the laws of Florida and the Federal Fair Housing Act. It is further alleged that these

  violations were committed as a result of malice, recklessness, deliberate indifference, and/or plain

  incompetence; and/or pursuant to the policies, practices and/or customs of Defendant City.

          14. In or about 2014, Hilliard applied for a Section 8 voucher and was placed on the HHA

  waiting list.

          15. In 2015, Hilliard, became disabled after a work accident and often uses a cane for

  assistance with walking.

          16. Due to his disabilities, Hilliard became, and remains to this day, unable to work.

          17. On or about April 25, 2016, Hilliard attended a meeting with Margarita De La Cruz, the

  HHA intake worker assigned to his application, in order to provide Ms. De La Cruz with documents

  she had requested from him.

          18. During this meeting, despite being presented with ample evidence of Hilliard’s

  disabilities, Ms. De La Cruz accused Hilliard of lying about his disability, stating that he was not

  disabled “in [her] eyes.”

          19. On or about May 17, 2016, Ms. De La Cruz called Hilliard and asked him to return to

  the HHA office to provide a letter stating how much money he had received from the settlement of

  his workers’ compensation claim, demanding that he needed to provide this letter within the next

  few hours.

          20. Hilliard, using his cane to walk, arrived at the HHA office with his letter a couple hours

  later. The HHA employees present included Ms. De La Cruz and Lena Halphen. Also present was

  on duty Hialeah Police Officer Defendant R. Gutierrez.

          21. Ms. De La Cruz met Hilliard in the lobby, looked over the letter, and immediately




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  accused Hilliard of lying about the amount of the workers’ compensation claim settlement, stating,

  “they said they gave you $25,000.00.”

           22. Hilliard calmly explained to Ms. De La Cruz the amount he stated in the letter the

  amount of money he received, after attorney fees and costs.

           23. At that time, Hilliard informed Ms. De La Cruz that her recent questions and attitude

  towards him were making him feel uncomfortable and that he felt she had been giving him a harder

  time ever since he reported to her that he was disabled and that his income was limited. Ms. De La

  Cruz then went back into her office alone to review his letter and left Hilliard sitting in the lobby.

           24. Hilliard waited in the lobby, quietly watching television, for about 15 minutes, at which

  time he decided to step outside to stretch as he was feeling stiff from sitting too long due to his

  arthritis.

           25. A few minutes later, Hilliard came back inside the lobby and noticed the television had

  been turned off. Hilliard politely asked about it being turned off and Ms. Halphen responded rudely,

  to which Hilliard stated he felt like he was being treated unfairly at that moment, possibly due to his

  race and/or disability, as on prior occasions he had seen Latino clients catered to regarding the

  television.

           26. Hilliard explained that he was dealing with mental and physical disabilities at the time

  and asked Ms. Halphen if she could please be more considerate and accommodating to him.

           27. After continued rudeness from Ms. Halphen, Hilliard told her he wanted to file a

  complaint against her for discrimination and harassment.

           28. Ms. Halphen gave Plaintiff a complaint form, told him to whom he should address, but

  stated nothing would be done about it.

           29. Ms. Halphen then informed Hilliard she was going to call the police, at which time

  Officer Gutierrez, who was on duty at HHA, approached Hilliard and instructed him step outside.




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         30. Hilliard complied, slowly walking outside with Officer Gutierrez as he was using the

  cane to walk.

         31. Hilliard asked Officer Gutierrez what the problem was and Officer Gutierrez replied by

  accusing Hilliard of being drunk and smoking marijuana, neither of which were true.

         32. In fact, Hilliard’s subsequent arrest report clearly states Hilliard was not under the

  influence of alcohol or drugs.

         33. Hilliard never raised his voice, acted in a threatening manner, or did anything else to give

  Officer Gutierrez any reason to think that Hilliard was breaking, or would be breaking, any law.

  Officer Gutierrez simply did not like something Hilliard said to him and/or Ms. Halphen.

         34. Once outside, Mr. Hilliard again asked Officer Gutierrez what the problem was. Officer

  Gutierrez replied by saying he felt threatened by Mr. Hilliard holding his cane in his hand; therefore,

  Mr. Hilliard placed his cane on the side of the building structure and placed his HHA complaint

  paperwork on the ground so that Officer Gutierrez could see he had nothing in his hands.

         35. Mr. Hilliard’s hands were now empty with no objects in them and he further placed both

  of his hands behind his back and stood in a non-threatening manner to finish his conversation with

  Officer Gutierrez.

         36. For unknown reasons, Officer Gutierrez decided Mr. Hilliard was taking a threatening

  stance, and told Mr. Hilliard that he was “squaring off against” him.

         37. Mr. Hilliard again began asking Officer Gutierrez what the problem was, at which point

  Officer Gutierrez started to reach toward his hip at which time Mr. Hilliard believed Officer

  Gutierrez may be reaching for his gun or Taser.

         38. However, instead of brandishing his firearm or Taser, Officer Gutierrez changed his

  focus to another patron, a Black woman parked in a nearby space, asking her if she and Hilliard were

  together and if the vehicle belonged to Mr. Hilliard.




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           39. Mr. Hilliard told Officer Gutierrez that he thought Officer Gutierrez was harassing the

  woman (who was not with him and who Mr. Hilliard had never met) at which point Officer

  Gutierrez told Mr. Hilliard to put his hands on the wall and that he was under arrest.

           40. Mr. Hilliard yet again complied, even though he knew he had done nothing wrong.

           41. As Officer Gutierrez placed Mr. Hilliard’s hand behind his back and into handcuffs, he

  stated to Hilliard, “who is in charge now, boy?” and “you hear those police sirens? You’re going to

  jail now, nigger.”

           42. At that point, according to Officer Gutierrez’s notes, he pulled his Taser and aimed it at

  Plaintiff.

           43. Approximately six (6) to eight (8) Hialeah Police Officers shortly arrived on scene;

  however, as Mr. Hilliard was complying, it took only one officer to take custody of Mr. Hilliard,

  place a second set of handcuffs on him, and place him in a squad car.

           44. From the squad car, Mr. Hilliard watched and listened as the newly arrived HPD

  Officers questioned Officer Gutierrez and Ms. Halphen.

           45. Mr. Hilliard was never questioned, nor was the woman in her car who witnessed the

  entire event.

           46. While Mr. Hilliard was sitting in the back of the squad car, Officer Gutierrez stood by

  the back window where. Mr. Hilliard was sitting and continued to harass and threaten him, even

  spitting in his face.

           47. Officer Gutierrez screamed at Mr. Hilliard, “if you show back up on this property that

  your Black ass will be sorry!”

           48. Despite Gutierrez knowing that his accusations and assumptions were unfounded, and

  HPD failing to exercise due diligence in conducting an investigation, Mr. Hilliard was placed under

  arrest for assault on an officer and disorderly conduct and was also trespassed from HHA property.




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           49. Mr. Hilliard was in police custody for approximately 16 hours as a result of this incident:

  approximately 1.5 hours riding in the police car and approximately 14.5 hours in jail, during which

  he spent the night sleeping on a hard bunk, having to climb up and down off of it for headcounts

  until he was bonded out by his family.

           50. As a direct and proximate result of his wrongful arrest, Mr. Hilliard suffered, and

  continues to suffer, substantial aggravations and exacerbations of his painful arthritis and

  depression.

           51. On July 14, 2016 the criminal prosecution initiated by Officer Gutierrez was terminated

  by the prosecuting authority of Miami-Dade County via nolle prosequi.

           52. To the extent that Officer Gutierrez was able to, and/or did, understand that his arrest

  of Hilliard violated clearly established civil rights held by Mr. Hilliard, Officer Gutierrez’s actions

  were guided by the knowledge that he could do so with impunity, and without fear of discipline,

  oversight, meaningful review and/or scrutiny by /Velazquez.

           53. Upon information and belief, video evidence, which apparently exists despite HPD and

  HHA’s failure to provide it in response to a public records request, would show that at no time did

  Hilliard threaten or move towards Officer Gutierrez as he claimed in his report. Officer Gutierrez

  did not have probable cause for an arrest of Mr. Hilliard. He did not, in fact, even have reasonable

  suspicion of criminal behavior justifying even the briefest of detentions.

           54. Officer Gutierrez very plainly, and under the color of law, falsely detained and arrested

  Mr. Hilliard.

           55. On or about June 15, 2016, the Miami-Dade State Attorney’s Office decided to not file

  formal charges against Mr. Hilliard for the aggravated assault on a police officer due to there being

  “insufficient evidence” to file formal charges and filed the disorderly conduct charges in county

  court.




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          56. However, on or about July 14, 2016, the State Attorney filed a nolle prose in the

  disorderly conduct case as well.

          57. On May 24, 2016, HHA further discriminated against Mr. Hilliard by denying his

  application for Section 8 housing on specious grounds.

          58. The stated basis for the denial was “Threatened Abusive Behavior towards PHA

  Personnel.”

          59. Mr. Hilliard successfully fought the denial. The hearing officer found the witnesses for

  HHA to have inconsistent testimony and stated, “the supposed language of Mr. Hilliard was not

  harsh or verbally abusive than the confirmed sarcastic remarks made from the Hialeah Housing

  Authority’s employee.”

          60. The impact of the actions of the Hialeah Housing Authority, Officer Gutierrez, and the

  Hialeah Police Department on Mr. Hilliard have been significant, to say the least. On June 16, 2016

  at 9:00 am, Mr. Hilliard, who has no other criminal record, was arraigned on felony charges of

  aggravated assault on a law enforcement officer; however, the State Attorney declined to file an

  information and the charges were dismissed after they reviewed the video recording of the incident.

          61. Additionally, on July 13, 2016 at 9:00 am, Mr. Hilliard was arraigned on misdemeanor

  charges of breach of the peace and, once again, after reviewing the video recording, those charges

  were summarily dismissed as well.

          62. Mr. Hilliard has also suffered an increase in his arthritic pain due to the arrest. His pain

  medication has been increased three times since the arrest.

          63. Additionally, Mr. Hilliard feels less safe in general since the date of the incident. His

  ability simply to go about his daily life with the sane peace of mind he enjoyed prior to this incident

  no longer exists.

          64. Moreover, Officer Gutierrez violated Mr. Hilliard’s constitutionally right to be free from




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  unreasonable seizure, ridiculed him, put him in fear for his safety, even his life, and did so in open

  public.

            65. Since the incident, Mr. Hilliard has needed to avail himself of psychiatric help, and will

  continue to need to do so in the future to attempt, to address the damage caused by Officer

  Gutierrez’s false arrest and both Officer Gutierrez’s and HHA’s blatant abuse of authority.

            66. As stated above, Mr. Hilliard’s application for housing was also wrongfully denied due to

  this incident and despite the reversal of the denial, he has still not received a response from HHA on

  his application. In fact, when he types his name in the HHA waiting list database, he receives a

  response that stating “No Applicant Found.” Therefore, Mr. Hilliard has been homeless throughout

  this process and remains homeless as of today.

            67. Finally, because Mr. Hilliard was wrongfully arrested, his car was towed from the HHA

  lot, where it was legally parked in a handicapped space at the time of his arrest.

            68. Defendant City has been, and continues to be, deliberately indifferent to the

  promulgation of policies and/or customs insufficient to protect the constitutional rights of the

  citizenry it is obligated to serve.

            69. The City’s deliberate indifference, and allowance of deficient City policy and/or custom,

  created a foreseeable assurance and likelihood that the rights of citizens would become the victims

  of constitutional violations by Hialeah PD officers and HHA personnel.

            70. The injuries suffered by Mr. Hilliard was the result this deliberate indifference in that the

  failure of Velazquez and M. Gutierrez to take meaningful and appropriate action by retraining,

  discipline, supervision, and/or any other remedial action, in instances where City officers made

  illegal arrests and HHA personnel made arbitrary and discriminatory decisions regarding citizens

  who applied for housing, allowed Defendants’ officers and employees to believe they could violate

  Plaintiff’s rights, as set forth herein, with impunity. As such, the deliberate indifference to the rights




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  of citizens by the City was the moving force that resulted in the injury to Mr. Hilliard.

          71. Plaintiff has retained the Goodwin Firm to represent him in this matter and has agreed

  to pay a reasonable fee for this representation.

                                  COUNT I
            FALSE ARREST AND/OR IMPRISONMENT – 42 U.S.C. §1983 CLAIM
                           (DEFENDANT GUTIERREZ)

          72. Plaintiff hereby incorporates paragraphs 1- 71 above as if specifically set forth herein.

          73. On or about May 17, 2016, Defendant Officer Gutierrez did unlawfully detain and/or

  seize Elgin Hilliard, Sr. by unlawfully restraining his movement and freedom while acting under the

  color of law.

          74. The subjective motivations of Officer Gutierrez for accosting Mr. Hilliard, immediately

  detaining him, and eventually placing him in custody are known only to him. However, at the time

  Hilliard was not engaged in any activity that any reasonable person would believe to be criminal in

  nature and supportive of probable cause or arguable probable cause. Mr. Hilliard simply was

  exercising his First Amendment right to speech in a calm and peaceful manner.

          75. As a direct and proximate cause of the illegal detention and arrest Mr. Hilliard suffered

  financial loss in the form of bail and other costs, loss of freedom by incarceration, physical injury,

  embarrassment and indignity, humiliation and/or emotional injury leading to interference with his

  enjoyment of life, including his continued homelessness, stress, anxiety, and depression.

          WHEREFORE, the Plaintiff Elgin Hilliard, Sr. requests this Court enter judgment against

  Defendant Officer Gutierrez individually, and award Plaintiff compensatory and punitive damages,

  attorney’s fees and costs, as well as all other further relief this Court deems just and proper.

                                  COUNT II
            FALSE ARREST AND/OR IMPRISONMENT - STATE TORT CLAIM
                       (DEFENDANT OFFICER GUTIERREZ)

          76. Plaintiffs hereby incorporate paragraphs 1- 71 above as if specifically set forth herein.




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          77. On or about May 17, 2016, Defendant Officer Gutierrez did unlawfully detain and/or

  seize Elgin Hilliard, Sr. by unlawfully restraining his movement and freedom while acting under the

  color of law.

          78. The unlawful arrest of Mr. Hilliard was the result of the plain incompetence of Officer

  Gutierrez while acting within the course and scope of his employment, and pursuant to the

  discretionary authority vested in him by the City.

          79. As specifically set forth above the illegal arrest and false imprisonment stem from

  actions by Officer Gutierrez which were malicious, taken in bad faith, and/or with willful disregard

  for Mr. Hilliard’s rights and well-being.

          80. As a direct and proximate cause of the illegal detention, and Mr. Hilliard’s attempt to

  avoid same, he suffered financial loss in the form of attorney’s fees, bail and other costs, loss of

  freedom by incarceration, physical injury by electrical shock, embarrassment and indignity,

  humiliation and/or emotional injury leading to interference with his enjoyment of life, including his

  continued homelessness, stress, anxiety, and depression.

          WHEREFORE, Plaintiff requests this Court enter judgment against Defendant Officer

  Gutierrez individually, and award Plaintiff compensatory and punitive damages, attorney’s fees and

  costs, as well as all other further relief this Court deems just and proper.

                                         COUNT III
                                  MALICIOUS PROSECUTION
                              (DEFENDANT OFFICER GUTIERREZ)

          81. Plaintiff hereby incorporates paragraphs 1 - 71 as if specifically pled herein.

          82. As a direct and proximate result of the illegal arrest of Plaintiff, two criminal cases were

  commenced against him in Miami-Dade County (Case Nos. 16-CF-10247 and 16-MM-016617) Case

  No. ) on or about May 18, 2016.

          83. Case No. 16-CF-10247 was terminated in favor of Hilliard on or about February 6,




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  2014.

          84. Case No. was terminated in favor of Hilliard on or about July 13, 2016._

          85. The actions of Defendant Officer Gutierrez were without any legal justification such

  that they constituted malice because they stemmed from his own personal anger, rage, fears and/or

  vindictive purposes, and not the lawful execution of his discretionary duties as a police officer.

          86. As a direct and proximate result of Gutierrez’s malice and the commencement of

  prosecution Hilliard suffered financial loss in the form of attorney’s fees, bail and other costs, loss of

  freedom by incarceration, physical injury, embarrassment and indignity, humiliation and/or

  emotional injury leading to interference with his enjoyment of life, continued homelessness, stress,

  anxiety, depression, and loss of sleep.

          WHEREFORE, Plaintiff requests this Court enter judgment against Defendant Officer

  Gutierrez individually, and award Plaintiff compensatory and punitive damages, attorney’s fees and

  costs, as well as all other further relief this Court deems just and proper.

                                      COUNT IV
                      EXCESSIVE USE OF FORCE – 42 U.S.C. §1983 CLAIM
                          (DEFENDANT OFFICER GUTIERREZ)

          87. Plaintiffs hereby incorporate paragraphs 1-71 above, as if specifically set forth herein.

          88. At no time during the events giving rise to this action did Plaintiff commit any act,

  motion, or gesture to oppose any member of the Hialeah Police Department, including Officer

  Gutierrez, that might reasonably have been interpreted or perceived as a threat to their safety, health

  or well-being.

          89. Moreover, no probable cause or arguable probable cause existed for any arrest therefore

  any use of force was unjustified and excessive in violation of the Fourth Amendment.

          90. In an effort to conceal the illegal and violative nature of his actions, Defendant Officer

  Gutierrez did falsify official reports, and/or did fail to report or concealed the facts and




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  circumstances of his use of force.

          91. As a direct and proximate result of the force used against Plaintiff, he suffered physical

  injury by electrical shock, embarrassment and indignity, humiliation and/or emotional injury leading

  to interference with his enjoyment of life, continued homelessness, depression, stress, anxiety, and

  loss of sleep.

          WHEREFORE, Plaintiff requests this Court enter judgment against Defendant Officer

  Gutierrez individually, and award Plaintiff compensatory and punitive damages, attorney’s fees and

  costs, as well as all other further relief this Court deems just and proper.

                                          COUNT V
                                  VIOLATION OF 42 U.S.C. § 1983
                                (DEFENDANT CITY OF HIALEAH)

          92. Plaintiff incorporates paragraphs 1-71 above, as if specifically set forth herein.

          93. At all times hereto, the Hialeah City Council was the final policymaker of the City for

  the drafting, adoption, and implementation of ordinances and other policies formally regulating the

  actions of their employees with members of the general public and delegated these responsibilities to

  Defendant Velazquez as Chief of Police; in the alternative, Defendant was the final policymaker. In

  the years prior to May 2017, there were several practices and customs that were so widespread, in

  terms of duration and frequency, that the knowledge of and acquiescence in these practices is

  chargeable to the City Council.

          94. One improper practice was the failure of the HPD to fully investigate discrepancies and

  misstatements in arrest reports and other official documents prepared by HPD officers, thus

  thwarting appropriate discipline and potential criminal sanctions against HPD officers.

          95. Another improper practice was the repeated act by the HPD to routinely find what

  were in fact uses of excessive force to be justified or within guidelines. while at times acknowledging

  minor errors that led to minor, or no, discipline. This led directly to an atmosphere within the HPD




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  where officers believed that even the most outrageous acts of excessive force would be tolerated by

  the Department and the City.

          96. The practice of imposing no, or wholly inadequate, discipline on HPD officers was

  widespread, and the failure of the Chief of Police or City Council to impose appropriate discipline

  further led directly to an atmosphere within the HPD where officers believed that even the most

  outrageous violations of citizens’ constitutional rights and other criminal acts by officers would be

  tolerated by the Department and the City, including such a belief by Defendant Officer Gutierrez,

  who arrested Plaintiff without any justification.

          97. This deliberate indifference to police misconduct evinces the existence of a custom in

  the City to tolerate excessive force and wrongful arrests. The presence of this custom demonstrates

  that the City of Hialeah has effectively ratified the type of police misconduct at issue in this case.

          98. The response by the City regarding Plaintiff’s false arrest was a failure to fully

  investigate the matter in a timely fashion or to reprimand the subject HPD officer with a

  punishment that befit each particular violation of constitutional rights.

          99. The failure by Defendant City to diligently investigate and discipline its officers for

  official misconduct has created an atmosphere where the HPD’s employees believe that such

  misconduct constitutes behavior that will be tolerated and will not be sanctioned.

          100. These practices or customs of failing to properly investigate or discipline acts

  constituting unlawful arrest, excessive force or force sufficient to shock the conscience, and/or

  repetitive ratification of police misconduct, were the moving force behind and proximate cause of

  the deprivation of Plaintiff’s Fourth and Fourteenth Amendment rights.

          101. As a direct and proximate result of the deprivation of Plaintiff’s Fourth and Fourteenth

  Amendment rights through unlawful arrest and use of excessive force, Mr. Hilliard suffered financial

  loss in the form of bail and other costs, loss of freedom by incarceration, physical injury,




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  embarrassment and indignity, humiliation and/or emotional injury leading to interference with his

  enjoyment of life, including continued homelessness, depression, stress, anxiety, and loss of sleep.

         WHEREFORE, Plaintiff requests this Court enter judgment against Defendant City of

  Hialeah and award Plaintiff compensatory damages, attorney’s fees and costs, as well as all other

  further relief this Court deems just and proper.

                                          COUNT VI
                                   VIOLATION OF 42 U.S.C. §1983
                                   (DEFENDANT VELAZQUEZ)

         102. Plaintiff incorporates paragraphs 1-71 above, as if specifically set forth herein.

         103. At all times material hereto, Defendant Velazquez was the official decision- maker

  charged with the responsibilities to adopt and implement policies, rules and regulations for the

  Hialeah PD to reasonably ensure the protection of the constitutional rights of the public.

         104. These policies, rules and regulations necessarily included the implementation of policies

  and practices to detect, investigate, evaluate, and/or remediate and/or discipline the use of excessive

  force against, and/or false imprisonment of citizens, including Plaintiff by Hialeah PD officers.

         105. Upon information and belief, Defendant Velazquez was deliberately indifferent to these

  responsibilities, and to the rights of the public by expressly and/or impliedly failing to adopt or

  implement such policies or practices.

         106. To the contrary, pattern of constitutional violations, evidences a custom which

  condones and encourages the widespread use of excessive force by its police officers and/or illegal

  detention of citizens. Specifically, Defendant Velazquez maintained a custom that systematically

  ratified all uses of force and arrest without scrutiny or meaningful oversight, or adherence to his own

  written polices and/or orders.

         107. In short, the written policies and orders of Defendant Velazquez intended to protect

  citizens from excessive use of force, and illegal arrest were systematically ignored by Defendant




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  Velazquez, and supplanted with a custom of deliberate indifference which resulted in such abuses.

             108. Despite easily discernible and discoverable abuses of the written policies, and/or orders

  regarding the use of force, Defendant Velazquez, and/or his subordinate command staff, did

  approve and/or ratify any use of force, or imprisonment without meaningful investigation or due

  diligence.

             109. Defendant Velazquez’s personal review and then ratification and approval led to a

  widespread pattern of abuse of which he had personal knowledge but did deliberately fail to stop.

             110. Defendant Velazquez’s failure to implement his own written policies and orders, and

  his approval of any use of force or arrest without meaningful review or scrutiny strongly infers a

  reckless disregard for the rights of the public he is charged to protect from abuse of constitutional

  rights by City of Hialeah police officers.

             111. Defendant Velazquez’s failure to enforce or implement his own policies and orders to

  prevent such abuses, and instead ignore those policies, created an environment where the City of

  Hialeah police officers were comfortable in the knowledge that they could violate the rights of

  citizens without any concern for review, scrutiny, discipline, consequence, and/or reproach for their

  actions.

             112. In this instance specifically, Defendant Velazquez’s indifference to the rights of citizens

  was a direct and proximate cause of the injuries suffered by Plaintiff because at the time he assaulted

  and arrested Plaintiff, Officer Gutierrez knew and/or was reasonably comfortable in the knowledge

  that his actions would be approved and condoned by his supervisors, including Defendant

  Velazquez.

             113. The failure of Defendant Velazquez to implement his own written policies and/or

  orders intended to prevent violation of the rights of citizens, and instead his maintenance of a tacit

  custom of ratifying the use of excessive force and/or illegal arrest by Hialeah PD officers was the




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  direct and proximate cause of the harm suffered by Plaintiff including financial loss in the form of

  bail and other costs, loss of freedom by incarceration, physical injury by electrical shock,

  embarrassment and indignity, humiliation and/or emotional injury leading to interference with his

  enjoyment of life, including continued homelessness, depression, stress, anxiety, and loss of sleep.

          WHEREFORE, Plaintiff. requests this Court enter judgment against Defendant Velazquez

  individually, and award Plaintiff compensatory and punitive damages, attorney’s fees and costs, as

  well as all other further relief this Court deems just and proper.

                                    COUNT VII
                             VIOLATION OF 42 U.S.C. §1983
                      (DEFENDANT HIALEAH HOUSING AUTHORITY)

      114.     Plaintiff reasserts and realleges paragraphs 1 through 71.

      115.     HHA’s decision to terminate Plaintiff’s participation in Section 8 Program violates the

  Due Process Clause of the Fourteenth Amendment of the Constitution of the United States, 42

  U.S.C. § 1437d(k), 1437f(o)(20)(D)(I), 24 C.F.R. § 982.553(c), and 24 C.F.R. § 982.555(e)(6).

      116.     In order to deny an applicant based on alleged criminal activity, HHA bears the burden

  to ultimately prove that Plaintiff engaged in criminal activity by a preponderance of the evidence.

  Basco v. Machin, 514 F.3d 1177, 1182 (11th Cir. 2008).

      117.     HHA has ignored the ruling of its own hearing officer and continued to deny Plaintiff

  his right to receive equal treatment by HHA.

      118.     HHA’s termination of Plaintiff’s participation in the Section 8 Program violates his

  right to due process of law under the Fourteenth Amendment of the United States Constitution, and

  the United States Housing Act of 1937, as amended, 42 U.S.C. § 1437d(k) and 1437f(o)(20)(D)(I) ,

  and the applicable federal regulations found at 24 C.F.R. § 982.553(c) and 24 C.F.R. § 982.555(e)(6).

      119.     Plaintiff was, and continues to be, deprived of a federal right by Defendants, acting

  under color of state law, in that HHA terminated his participation in the Section 8 program although




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  it lacked any probative evidence that he engaged in criminal activity in violation of his right to due

  process of law under the Fourteenth Amendment of the United States Constitution, the United

  States Housing Act of 1937, as amended, 42 U.S.C. § 1437d(k), 1437f(o)(20)(D)(I), and the

  applicable federal regulations found at 24 C.F.R. § 982.553(c) and 24 C.F.R. § 982.555(e)(6), and she

  therefore has a cognizable claim under 42 U.S.C. §1983.

      120.    Plaintiff has suffered damages by remaining homeless for over two years since the

  incident.

              WHEREFORE, Plaintiff requests this Court enter judgment against Defendant City of

  Hialeah, and award Plaintiff compensatory damages, attorney’s fees and costs, as well as all other

  further relief this Court deems just and proper.

                                          COUNT VIII
                                   VIOLATION OF 42 U.S.C. § 1983
                                 (DEFENDANT CITY OF HIALEAH)

      121.    Plaintiff incorporates paragraphs 1-71 above, as if specifically set forth herein.

      122.    At all times hereto, the Hialeah City Council was the final policymaker of the City for

  the drafting, adoption, and implementation of ordinances and other policies formally regulating the

  actions of their employees with members of the general public.

      123.    Upon information and belief, in the years prior to May 2017, there were several

  practices and customs that were so widespread, in terms of duration and frequency, that the

  knowledge of and acquiescence in these practices is chargeable to the City Council.

      124.    One improper practice was the failure of the HHA to fully investigate discrepancies and

  misstatements in arrest reports and other official documents prepared by HPD officers, thus

  thwarting appropriate discipline and potential criminal sanctions against HPD officers.

      125.    Another improper practice was the repeated act by the HPD to routinely find what

  were in fact uses of excessive force to be justified or within guidelines. while at times acknowledging




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  minor errors that led to minor, or no, discipline. This led directly to an atmosphere within the HPD

  where officers believed that even the most outrageous acts of excessive force would be tolerated by

  the Department and the City.

      126.     The practice of imposing no, or wholly inadequate, discipline on HPD officers was

  widespread, and the failure of the Chief of Police or City Council to impose appropriate discipline

  further led directly to an atmosphere within the HPD where officers believed that even the most

  outrageous violations of citizens’ constitutional rights and other criminal acts by officers would be

  tolerated by the Department and the City, including such a belief by Defendant Officer Gutierrez,

  who arrested Plaintiff without any justification.

      127.     This deliberate indifference to police misconduct evinces the existence of a custom in

  the City to tolerate excessive force and wrongful arrests. The presence of this custom demonstrates

  that the City of Hialeah has effectively ratified the type of police misconduct at issue in this case.

      128.     The response by the City regarding Plaintiff’s false arrest was a failure to fully

  investigate the matter in a timely fashion or to reprimand the subject HPD officer with a

  punishment that befit each particular violation of constitutional rights.

      129.     The failure by Defendant City to diligently investigate and discipline its officers for

  official misconduct has created an atmosphere where the HPD’s employees believe that such

  misconduct constitutes behavior that will be tolerated and will not be sanctioned.

      130.     These practices or customs of failing to properly investigate or discipline acts

  constituting unlawful arrest, excessive force or force sufficient to shock the conscience, and/or

  repetitive ratification of police misconduct, were the moving force behind and proximate cause of

  the deprivation of Plaintiff’s Fourth and Fourteenth Amendment rights.

      131.     As a direct and proximate result of the deprivation of Plaintiff’s Fourth and Fourteenth

  Amendment rights through unlawful arrest and use of excessive force, Mr. Hilliard suffered financial




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  loss in the form of bail and other costs, loss of freedom by incarceration, physical injury,

  embarrassment and indignity, humiliation and/or emotional injury leading to interference with his

  enjoyment of life, including continued homelessness, depression, stress, anxiety, and loss of sleep.

          WHEREFORE, Plaintiff requests this Court enter judgment against Defendant City of

  Hialeah, and award Plaintiff compensatory damages, attorney’s fees and costs, as well as all other

  further relief this Court deems just and proper.

                            COUNT IX
         RETALIATION UNDER THE FEDERAL FAIR HOUSING ACT
  (DEFENDANTS HIALEAH HOUSING AUTHORITY and MARGARITA DE LA CRUZ)

      132.     Plaintiff incorporates paragraphs 1-73 above, as if specifically set forth herein.

      133.     The Fair Housing Act, 42 U.S.C. § 3617, et seq., and the Florida Fair Housing Act, §

  760.37, et seq, are interpreted in pari materia. All make it unlawful to coerce, intimidate, threaten, or

  interfere with any person in the exercise of, or on account of his having exercised, or on account of

  his having aided or encouraged any other person in the exercise of any fair housing right.

      134.     The retaliation provisions of the Fair Housing Acts have been broadly applied to reach

  all practices which have the effect of interfering with the exercise of rights under the federal fair

  housing laws.

      135.     The denial of Plaintiff’s application based on obviously mischaracterized evidence

  appears to be pretextual and violates the Fair Housing Act’s prohibition against retaliatory conduct.

      136.     The actions of Defendants were for the purpose of coercing, intimidating, threatening,

  or interfering with Plaintiff’s exercise of his fair housing rights.

      137.     As a result of Defendants’ retaliatory conduct, Plaintiff has suffered from homelessness,

  embarrassment and indignity, humiliation and/or emotional injury leading to interference with his

  enjoyment of life, including continued homelessness, depression, stress, anxiety, and loss of sleep.

         WHEREFORE, Plaintiff demands judgment and relief for his tangible and intangible




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  damages, compensatory damages, punitive damages, attorney’s fees, costs for prosecuting these

  matters, and any such further relief as this Court deems just and equitable against Defendants.

                                                Trial by Jury

      138.     Plaintiff demands trial by jury for all issues so triable by right.

  Respectfully submitted this 29th day of October 2018.

                                                            April S. Goodwin__________
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